        Case 3:14-mc-80294-JD Document 66 Filed 09/18/15 Page 1 of 4



 1   Gregory L. Lippetz (State Bar No. 154228)            S. Lloyd Smith (Pro Hac Vice)
     glippetz@jonesday.com                                lloyd.smith@bipc.com
 2   JONES DAY                                            Todd R. Walters (Pro Hac Vice)
     1755 Embarcadero Road                                todd.walters@bipc.com
 3   Palo Alto, CA 94303                                  BUCHANAN INGERSOLL &
     Telephone: 650.739.3968                              ROONEY PC
 4   Facsimile: 650.739.3900                              1737 King Street, Suite 500
                                                          Alexandria, Virginia 22314
 5   J. Patrick Elsevier (State Bar No. 274034)           Telephone: 703 838 6620
     jpelsevier@jonesday.com                              Facsimile: 703 836 2021
 6   JONES DAY
     12265 El Camino Real, Suite 200                      Philip L. Hirschhorn (Pro Hac Vice)
 7   San Diego, CA 92130                                  philip.hirschhorn@bipc.com
     Telephone: 858.314.1200                              BUCHANAN INGERSOLL &
 8   Facsimile: 858.314.1150                              ROONEY PC
                                                          1290 Avenue of the Americas, 30th
 9   Attorneys for Petitioner                             Floor
     AKEBIA THERAPEUTICS, INC.                            New York, New York 10104
10                                                        Telephone: 212 440 4400
                                                          Facsimile: 212 440 4401
11
                                                          Steven A. Ellis (SBN 171742)
12                                                        sellis@goodwinprocter.com
                                                          GOODWIN PROCTER LLP
13                                                        601 S. Figueroa Street, 41st Floor
                                                          Los Angeles, California 90017-5704
14                                                        Telephone: 213 426 2500
                                                          Facsimile: 213 623 1673
15
                                                          Attorneys for Respondent
16                                                        FIBROGEN, INC.
17
                                   UNITED STATES DISTRICT COURT
18
                                 NORTHERN DISTRICT OF CALIFORNIA
19
                                        SAN FRANCISCO DIVISION
20

21
     IN RE APPLICATION OF AKEBIA                          No. 3:14-MC-80294-JD
22   THERAPEUTICS, INC. FOR AN ORDER
     GRANTING LEAVE TO ISSUE                              JOINT STATUS REPORT
23   SUBPOENA FOR THE TAKING OF
     DISCOVERY PURSUANT TO 28 U.S.C.
24   1782
25

26             Pursuant to the Court’s September 10, 2015 Order, Akebia Therapeutics, Inc. (“Akebia”)

27   and FibroGen, Inc. (“FibroGen”) (collectively “the Parties”) submit the following joint status

28   report:
                                                      1
                                                                                       JOINT STATUS REPORT
                                                                                     CASE NO. 3:14-MC-80294-JD
        Case 3:14-mc-80294-JD Document 66 Filed 09/18/15 Page 2 of 4



 1          FibroGen began its production of documents in this matter on September 9, 2015. The
 2   production includes 14 pages of tables of summarized assay results extracted from FibroGen’s
 3   centralized data stores, as follows:
 4              1. experimental and control results relating to data associated with Figure 2 of Poster
 5                  301;
 6              2. cell-free enzyme assay data;
 7              3. in vivo mouse EPO assay data (intravenous administration);
 8              4. in vivo mouse EPO assay data (oral administration); and
 9              5. cell-based EPO and HIF assay data.
10          The remainder of FibroGen’s production thus far consists of 99 pages of reference tables
11   identifying the classes of compounds and 183 pages providing compound structures that correlate
12   to each of the internal identifiers used by FibroGen in the produced materials.
13          FibroGen intends to produce additional documents (including any results of hematocrit
14   assays and other test results that are not in its centralized data sources and any laboratory
15   notebook pages that may be responsive) beginning on or before October 2, 2015 and has
16   represented to Akebia that it intends to make all reasonable efforts to complete its document
17   production by October 16, 2015.
18          As to the scope of the production, the parties have exchanged written correspondence
19   discussing additional information that Akebia believes should be produced by FibroGen that is
20   not reflected in the materials produced to date. The parties conducted a meet and confer on
21   September 17, 2015, to discuss this additional information. The parties continue to work on
22   resolving these remaining issues and expect that, if such issues cannot be resolved informally,
23   they can be brought to the Court’s attention via the procedures outlined in the Court’s standing
24   order for resolving discovery disputes.
25

26

27

28
                                                       2
                                                                                         JOINT STATUS REPORT
                                                                                       CASE NO. 3:14-MC-80294-JD
        Case 3:14-mc-80294-JD Document 66 Filed 09/18/15 Page 3 of 4



 1   Dated: September 18, 2015             Respectfully submitted,
 2                                         Jones Day
 3
                                           By: /s/ Gregory L. Lippetz
 4                                             Gregory L. Lippetz
 5                                         Counsel for Petitioner
                                           AKEBIA THERAPEUTICS, INC.
 6

 7   Dated: September 18, 2015             BUCHANAN INGERSOLL & ROONEY PC
 8

 9
                                           By: /s/ Todd R. Walters
10                                             Todd R. Walters
11                                         Counsel for Respondent
                                           FIBROGEN, INC.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                           3
                                                                          JOINT STATUS REPORT
                                                                        CASE NO. 3:14-MC-80294-JD
        Case 3:14-mc-80294-JD Document 66 Filed 09/18/15 Page 4 of 4



 1                                            ATTESTATION
 2          I, Gregory L. Lippetz, an ECF User whose ID and password are being used to file this
 3   JOINT STATUS REPORT, in compliance with Civil L.R. 5-1(i)(3), hereby attest that Todd R.
 4   Walters, attorney for FibroGen, Inc., has concurred with this filing.
 5
                                                          By: /s/ Gregory L. Lippetz
 6   Dated: September 18, 2015                                Gregory L. Lippetz
 7                                                        Counsel for Petitioner
                                                          AKEBIA THERAPEUTICS, INC.
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      4
                                                                                         JOINT STATUS REPORT
                                                                                       CASE NO. 3:14-MC-80294-JD
